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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 SHARON F.,                         )
                                    )
                        Plaintiff,  )                    Case No.: 1:21-cv-02756
            v.                      )
                                    )                    Honorable John J. Tharp, Jr.
 CYNTHIA MARTIN, LAKE FOREST        )
 COMMUNITY HIGH SCHOOL              )
 DISTRICT 115 and LAKE FOREST HIGH )
 SCHOOL,                            )
                        Defendants. )

DEFENDANT MARTIN’S LOCAL RULE 56.1 STATEMENT OF FACTS IN SUPPORT
            OF HER MOTION FOR SUMMARY JUDGMENT

       Defendant Cynthia Martin, pursuant to Federal Rule of Civil Procedure 56 and 56.1 of the

Northern District of Illinois, hereby submits the following local rule 56.1 Statement of Facts as to

which there is no genuine issue.

                                               Parties

       1.        Plaintiff, Dr. Sharon (“Sharon”), was a student at Lake Forest High School for her

junior and senior years from 1986 through 1987. (Dkt. 1, ¶¶ 6, 19, 25; Exhibit 1, p. 19:11-15).

       2.        Sharon’s date of birth is July 16, 1969. Sharon turned 18 on July 16, 1987. (Exhibit

1, pp. 13:13-15; 26:8-9).

       3.        Sharon graduated college in 1992. (Exhibit 1, p. 26:13-24).

       4.        Sharon graduated medical school in 2000 and completed her residencies in 2003,

specializing in internal medicine. (Exhibit 1, p. 28:4-15). Her training also included pediatric

medicine. (Exhibit 1, pp. 146:11-21; 153:19-21).

       5.        Sharon was in a 16-year relationship with a woman but divorced in 2015. (Exhibit

1, pp. 20-23).
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       6.      Sharon has two children, 14 and 19 years old. (Exhibit 1, p. 15:10-23).

       7.      Defendant, Cynthia Martin (“Cindy”), was a teacher and coach at Lake Forest High

School at the time that Sharon was a student. (Dkt. 1, ¶¶ 2, 5, 6). Cindy worked at Lake Forest

High School from 1982 through 1987. (Exhibit 2, DISTRICT_000005 and Exhibit 3, Martin 031,

033-035).

       8.      Cindy’s date of birth is November 6, 1958. (Exhibit 4, ¶ 1). Cindy was 24 years old

when she started teaching at Lake Forest High School. (Id.).

                                         The Complaint

       9.      On May 21, 2021, Sharon filed a Complaint against Cindy and Lake Forest High

School. (Dkt. 1). At the time of filing the Complaint, Sharon was 52 years old. (Exhibit 1, pp.

13:13-15; 26:8-9).

                                 How the Relationship Started

       10.     Sharon first met Cindy in the fall of her junior year of high school. (Exhibit 1, p.

33:9-11). However, there were no sexual interactions with Cindy during her junior year. (Id. p.

60:11-16).

       11.     During Sharon’s junior year, she and a friend went to Cindy’s apartment. (Exhibit

1, p. 52:4-11). Sharon testified that Cindy’s roommate at the time was not happy that minors were

at the apartment and said they should not be there. (Id. pp. 54:14-55:11).

       12.     Sharon and Cindy smoked marijuana and drank beer together. (Exhibit 1, pp. 47:20-

48:9; 52:20-53:13). But Sharon had used marijuana before and drank beer multiple times prior to

the occasions with Cindy. (Id. p. 48:5-9; 54:2-9). At Lake Forest High School it was common for

students to drink underage. (Id. p. 80:6-21). Students would drink alcohol in the school bathrooms

or leave school grounds to drink and then return. (Id.).



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       13.     Sharon spent the summer following her junior year at camp. (Exhibit 1, p. 56:13-

24). She kept in contact with Cindy while at summer camp. (Id. p. 57:4-8).

       14.     The sexual relationship between Sharon and Cindy started Sharon’s senior year,

specifically, the night before Sharon took her SAT/ACT in or around September or October of

1986. (Exhibit 1, pp. 71:13-72:7; 87:22-88:3). Sharon was 17 years old when the sexual

relationship started. (Id. pp. 13:13-15; 26:8-9). Her first sexual encounter with Cindy was a willing

one. (Id. p. 150:17-21).

       15.     Sharon testified in detail to the multiple other sexual encounters she had with

Cindy, including twice in the school locker rooms, hallways, and approximately five or six times

in another teacher’s home. (Exhibit 1, pp. 93:24-96:20; 99:22-100:14).

       16.      Staff at school saw Sharon and Cindy alone together on school grounds. (Id. p.

76:1-5). A custodian saw them in the locker room together and said something to Cindy. (Id. p.

76:6-19).

       17.     During her senior year, Sharon lived with Lesa Northam, a teacher at Lake Forest

High School because her father had recently passed away and her mother was ill. (Exhibit 1, p.

20:10-21:15). Ms. Northam was aware that Sharon was spending time with Cindy and told her that

she thought Cindy was unethical. (Id. pp. 67:21-68:4).

       18.     Sharon used Cindy’s car to leave school during school hours. (Exhibit 1, p. 82:21-

24). Ms. Northam was aware that Sharon was using Cindy’s car. (Id. p. 83:9-84:19).

       19.     Sharon kept in contact with Cindy even after Cindy left Lake Forest High School.

(Exhibit 1, p. 84:20-22).

       20.     After their first sexual encounter together, Sharon testified she “felt gross” and like

she needed to shower and “get clean.” (Exhibit 1, p. 88:4-24). Sharon had a lot of shame for being



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gay, so Cindy told her not tell anyone about their relationship because they would not understand.

(Exhibit 1, pp. 132:17-133:11; 143:11-15). Sharon struggled with the “gay sexual part” of the

relationship and that is why she alleged she believed her actions were acceptable as long as she

was drunk or high. (Id. p. 133:12-22).

         21.        Sharon and Cindy did not try to hide their relationship outside of school. (Exhibit

1, p. 143:6-15).

                             The Relationship Continued Into Sharon’s Adult Life

         22.        Sharon continued the relationship with Cindy after high school and into college.

(Exhibit 1, pp. 190:1-191:15).

         23.        In college, Sharon maintained contact with Cindy despite being in a relationship

with someone else. (Exhibit 1, pp. 210:20-211:5).

         24.        Sharon and Cindy met in Las Vegas when Sharon was in college because “they

were in a relationship.” (Exhibit 1, pp. 252:1-253:1). Sharon was over the age of 18 at the time of

this trip. (Id.).

         25.        Sharon and Cindy also saw each other in Chicago when Sharon competed in a

triathlon. (Exhibit 1, pp. 228:19-24; 261:7-24; 275:8-11).

         26.        There are photographs of the two together while in Las Vegas and Chicago.

(Exhibit 1, pp. 228:19-24; 261:7-24; 275:8-11; Exhibit 5, Martin 135-138).

         27.        On July 14, 1990, Sharon wrote Cindy a letter stating that she was still in love with

her despite being in relationship with someone else and she was all Sharon could think about.

(Exhibit 1, pp. 192:16-193:14; Exhibit 6, Martin 119-120).




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       28.     On March 20, 1991, Sharon sent Cindy a postcard from Las Vegas stating that she

wished Cindy was with her and how much fun they would have if they were together. (Exhibit 1,

pp. 191:16-192:7; Exhibit 7, Matin 118).

       29.     Sharon also sent Cindy birthday cards throughout the years, in November 1991,

1994, and 1995. (Exhibit 1, p. 195:8-24; Exhibit 8, Martin 141-146). In the November 6, 1994

card, Sharon wrote how glad she was to have a friend like Cindy and does not “know where [she’d]

be without [her].” (Exhibit 8, Martin 142).

                       Sharon Has Always Been Aware About the Relationship

       30.     Sharon always knew she had a relationship with Cindy. (Exhibit 1, p. 289:18-20).

There was never a point in time where she did not remember having a sexual relationship with

Cindy. (Id. pp. 147:3-12; 289:18-20)

       31.     Sharon testified that she has always been aware—from 1986 until 2024—that she

engaged in a sexual relationship with Cindy. (Exhibit 1, p. 190:15-19). Sharon stated she

remembers the relationship with Cindy and characterized it as a normal, healthy relationship.

(Exhibit. 1, p. 147:3-12).

       32.     While in college, Sharon told a friend about her relationship with Cindy. (Exhibit

1, pp. 151:5-152:7).

       33.     Sharon told her first wife about her sexual relationship with Cindy. (Exhibit 1, pp.

148:22-150:6). When she learned of the relationship her wife showed hesitation, but Sharon

assured her there was no need to be concerned. (Id.).

       34.




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        35.

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        36.       On June 28, 2020, Sharon sent a Facebook message to Rick Wolfgram, a Lake

Forest High School alum who was sexually abused by a male teacher and pursuing legal action.

(Exhibit 1, pp. 197:1-198:16). In the message, Sharon recounts her relationship with Cindy and

stated it continued until she graduated. (Id.). Sharon stated that she simply pushed the relationship

away until she decided to look into pressing charges but realized the statute of limitations had

passed. (Id.).

                 Sharon Only Recently Changed Her Mind About The Relationship

        37.       Sharon and Cindy were in love and Sharon never saw any harm in the relationship.

(Exhibit 1, p. 149:13:15).

        38.       Sharon had always viewed the relationship as a normal relationship, until she

recently started seeing it “through a really completely different light.” (Exhibit 1, pp. 134:15-21;

142:20-23).

        39.

                                          . She “never really gave [the relationship] much thought

until her daughter entered high school” in 2019. (Exhibit 1, pp. 146:9-147:8).

        40.




                                                                                 . But for her whole



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life, she had “put things in containers and didn’t deal with anything” for so long. (Exhibit 1, pp.

222-223).

       41.     As a doctor, Sharon testified that if she was treating a patient (as far back as 2020),

and they came to her as a teacher and said they were in a secret relationship with a minor student,

she would find it inappropriate. (Exhibit 1, p. 154:4-22).

       42.     When questioned further about pressing charges knowing the statute of limitations

had passed, Sharon testified she decided to pursue civil charges because she was angry Cindy

denied everything and was upset she did not apologize. (Exhibit 1, p. 201:4-21).

Date: October 11, 2024

                                                      Respectfully submitted,

                                                      CYNTHIA MARTIN

                                                      By:     /s/ John H. Scheid, Jr.

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